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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

 MATTHEW CHARLES
 SCHLOBOHM,

            Plaintiff,

            v.                                               CASE NO. 23-3014-JWL

 DONALD ASH, et al.,

            Defendants.


     MOTION TO RECONSIDER UNDER LOCAL RULE 7.3, CORRECT
   MISQUOTATION, CORRECT RECORD AND SEEK CLARIFICATION
    REGARDING PRO SE ACCESS TO SEALED RECORDS VIA PACER

       Plaintiff Matthew Schlobohm, proceeding pro se in this closed matter,

respectfully moves this Court to reconsider and amend its order (Doc. 109) to

correct a misquotation of Plaintiff’s words and meaning (id, at 1), correct the

record to reflect that Plaintiff in fact had given the Court reason to believe that the

electronically filed version of Exhibit 3 and the hard copy provided to Plaintiff

were different (id., at 2), clarify that the Plaintiff never received a copy of a 204-

page exhibit in the first place (id., at 2), refund to Plaintiff the costs associated

with procuring the unsealed electronically filed Exhibit 3, and clarify the basis for

stating “Also, pro se filers cannot be granted access to see sealed data of any

kind.” (id., at 1.) In support of this Motion, Plaintiff states as follows:


   1. On September 23, 2024, Plaintiff submitted a Motion to Withdraw

Complaint Without Prejudice (Doc. 93).

   2. On September 23, 2024, Plaintiff submitted a Letter (Doc. 94) in which he

sought to bring to the court’s attention “significant discrepancies and

concerns…specifically concerning ‘Exhibit 3’ of the Supplement (Doc. 66) to

the Martinez Report (Doc. 60).” (Doc. 94, at 1.)
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   3. “…it has become apparent that the electronic version of ‘Exhibit 3’

submitted to the Court and the physical copy that was conventionally delivered

to me are not the same.” Id.

   4. “The Show Cause Order references specific page numbers and details

within the sealed Exhibit, such as:


          •   ‘Wellpath also sent a Release of Information form…asking for

              Plaintiff’s most recent medication list. (Doc. 60-1, at 13, 14.)’ (Doc.

              82, at 10.)

          •   ‘The information received back did not reflect Xarelto or any

              additional current prescriptions. (Doc. 66, 186.)’ (id.)

          •   ‘As for treatment for COVID, Plaintiff’s medical records show he

              reported symptoms on December 20, 2022, and tested positive on

              December 21, 2022. (Doc. 66, at 8.)’ (Doc. 82, at 10.)

          •   ‘[t]he Doctor entered the following orders….(Doc. 66, at 151.)’

              (Doc. 82, at 10-12.)’” Id.


   5. Plaintiff also advised the Court that Affiant “Dee-Dee Gregory, RN” was

not a licensed nurse on the Kansas Board of Nursing License Status Verification

page, “suggesting a deliberate obfuscation of identity by the person in question,

as well as by the Interested Party and its attorney….” Id, at 1-2.

   6. Plaintiff concluded by “suggest[ing] that the sealed Exhibit 3 of the

Martinez Report Supplement be stricken in its entirety” (id., at 2) due to the

described discrepancies and misconduct perpetrated by the

Defendants/Interested Party.




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   7. On September 25, 2024, Plaintiff filed a Declaration (Doc. 95) in which he

stated, “This declaration is made in support of my motion for a protective

order to view the sealed ‘Exhibit 3’ to ensure the integrity of the judicial

process and for the Court's consideration of the discrepancies between the

versions of ‘Exhibit 3’ submitted to the Court.” Id., at 1-2.

   8. Plaintiff concurrently filed the version of Exhibit 3 as he received it in the

mail from the Interested Party/Defendants. (Doc. 96.)

   9. Plaintiff submitted a Motion for Protective Order to View Sealed

Exhibit (Doc. 98) on the same day. “There are discrepancies between the

electronic version submitted to the Court and the physical copy received by

the Plaintiff, necessitating this request for access.” Id., at 1.

   10. “Good Cause Exists for Granting Access to the Plaintiff: The Plaintiff has

a compelling interest in accessing his own medical records to ensure the

accuracy of the information presented to the Court and to address any

discrepancies that may impact the case.” Id.

   11. “The Plaintiff respectfully requests that the Court issue a Protective Order

allowing him to view the sealed ‘Exhibit 3’ to the Supplement to the Martinez

Report (Doc. 66), under conditions that the Court deems appropriate to protect

the confidentiality and privacy of the information contained therein.” Id., at 2.

   12. On September 26, 2024, Plaintiff submitted a Request for Judicial Notice

(Doc. 100) regarding various Federal court cases, news reports, and letters from a

cadre of United States senators addressed to executives of Wellpath, LLC (and

the responses from Wellpath, LLC to the senators) “concerning allegations that

represent a systemic neglect and deliberate indifference to the serious medical

needs of its patients as well as to patterns or practices that have been found to


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potentially violate the Constitutional rights of likely similarly situated

persons in other jurisdictions.” Id., at 1.

    13. “Pursuant to Federal Rule of Evidence 201, this Court may take judicial

notice of a fact that is not subject to reasonable dispute because it: (1) is generally

known within the trial court's territorial jurisdiction; or (2) can be accurately and

readily determined from sources whose accuracy cannot reasonably be

questioned. The materials for which judicial notice is requested herein are

publicly available, widely reported, and come from reputable sources or directly

from court records, thus meeting the criteria set forth in Rule 201.” Id., at 4.

    14. On September 26, 2024, Plaintiff futilely and mistakenly filed a Motion to

Withdraw Previous Motion to Withdraw Complaint (Doc. 99) despite the

previous notice to withdraw the complaint without prejudice constituting a self-

executing termination of the case as if it never happened and rendering the case

unable to be reopened even if the court or the plaintiff wanted to do so. See Moore

v. Hudson, 23-3168-JWL, D. Kan. 2024.

    15. On September 27, 2024, the Court entered judgment against the Plaintiff

(Doc. 102), dismissing the action for failure to state a claim upon which relief

may be granted (Doc. 101), and denying Plaintiff’s motion for a protective order

(id.).

    16. On November 19, 2024, this Court entered an Order (Doc. 109) that had

the effect of allowing Plaintiff to view the up-to-then sealed, electronically filed

Exhibit 3 to the Supplement (Doc. 66) to the Martinez Report (Doc. 60), which

triggered the Defendant’s intended procedural booby-trap of exposing the

Plaintiff’s most sensitive and medical information for public consumption as the

cost for accessing the materially different information that the Defendants

provided to the Court.
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      17. In Doc. 109, the Court stated, “Plaintiff alleges that the version of Exhibit 3

on PACER differs from the hard copy of Exhibit 3 that he received. He argues

that while he knows this ‘with certainty,’ he needs access to ‘properly seek

relief from the judgment and/or order against him.’ (Doc. 108-1, at 1.)” (id., at

1.)

      18. This is clearly erroneous, as it misquotes Plaintiff’s actual words and

misinterprets and misapprehends his point, intent, and meaning.
      19. In Doc. 108-1 (at 1), Plaintiff stated, “This Motion is predicated on the

clearly established common-law right of access to court records and the

Plaintiff’s imperative need to compare the sealed Exhibit 3 with the version

conventionally delivered to him by the Interested Party/Defendants, which has

raised serious concerns of surprise, excusable neglect, fraud (whether

previously called intrinsic or extrinsic), misrepresentation, or misconduct by the

opposing party. Plaintiff personally knows these things to be a certainty, but he

nonetheless must have access to the sealed exhibit in order to properly seek relief from the

judgment and/or order against him on these, but not necessarily only these, grounds.” Id.

      20. The Court’s finding of Plaintiff’s words respectfully is simply wrong,

literally and substantively.

      21. Plaintiff was saying, or intending to say, that he personally knows all the

facts of the case (simply because he is the one who experienced them), and, along

with the discrepancies and issues as stated in Docs. 94, 95, 98, and 100, Plaintiff

“personally knows these things to be a certainty.” (Doc. 108-1, at 1.)

      22. By “things,” Plaintiff was referring to misrepresentation, misconduct,

fraud, excusable neglect, and surprise – not to the contents of the sealed exhibit

which Plaintiff had not seen.


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   23. The Court continued, “Plaintiff has given the Court no reason to believe

that the electronically filed version of Exhibit 3 and the hard copy provided to

Plaintiff are different. Therefore, the Court finds no basis for giving him another

copy of the 204-page exhibit.” (Doc. 109, at 2.)

   24. This, too, is simply not factually correct. Plaintiff provided ample reason

to believe as such. See Paragraphs 2-12.

   25. Continuing (Doc. 109, at 2), “Therefore, the Court finds no basis for giving

him another copy of the 204-page exhibit. Plaintiff may submit the fee of $.10 per

page to the clerk’s office to obtain another copy of the exhibit.”

   26. As clearly shown in ECF No. 96 (“SEALED DOCUMENT titled Exhibit

F”), the version Plaintiff received was not 204 pages in length – it was also

deliberately out of order in the extreme and included parts of pages missing,

which, it turns out, were not missing in the electronic version as submitted to this

Court. This would have been clear to the court at first impression. Instead of

granting the motion for a protective order so Plaintiff could fairly assess the

sealed record being used against him, the court refused – slamming the

courthouse doors.

   27. Also from Doc. 109 (at 1), the Court stated, “The CM/ECF system is

designed to allow pro se litigants to file pleadings, but their access is limited to

public documents only The Application Administrator’s Guide provides as

follows: “Pro se filers cannot docket to any sealed cases, and cannot file sealed

docket entries to unsealed cases. Also, pro se filers cannot be granted access to

see sealed data of any kind.’” (emphasis added).

   28. This also appears to be incorrect.

   29. Plaintiff notes that he has access to sealed document in ECF No. 96

(labeled as “Exhibit F” on the docket).
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   30. Plaintiff requests clarification, correction, or citation to the Guide or rule

mentioned because he can find no such clause in neither the “PACER User

Manual for CM/ECF Courts (Updated March 2024)1,” nor the
“ADMINISTRATIVE PROCEDURES FOR FILING, SIGNING, AND VERIFYING

PLEADINGS AND PAPERS BY ELECTRONIC MEANS IN THE UNITED

STATES DISTRICT COURT FOR THE DISTRICT OF KANSAS (Revised

December 2022)2,” nor the Local Rules for the District of Kansas 3 or its

Guidelines 4.


Based on the above, Plaintiff respectfully requests that this Court:


   1. Correct the record to reflect Plaintiff’s actual words and arguments as
       noted above.

   2. Acknowledge Plaintiff’s prior advisements in Docs. 94, 95, 98, and 100,

       which provided ample reasons for believing there existed discrepancies

       between the versions of Exhibit 3.

   3. Clarify, correct, or cite the procedural basis for the assertion in Doc. 109

       that pro se filers cannot access sealed data of any kind, including citation

       to applicable rules or guidelines.

   4. Grant any other relief the Court deems just and proper.



1 pacer.uscourts.gov



2 https://www.ksd.uscourts.gov/sites/ksd/files/2022-Combined-Administrative-Procedures-

FINAL-2.pdf

3 https://www.ksd.uscourts.gov/sites/ksd/files/MASTER COPY updated 8 26 24.pdf



4 https://www.ksd.uscourts.gov/district-kansas-guidelines



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                                        Respectfully submitted,

                                        /s/ Matthew Schlobohm
                                        Plaintiff
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                                        Kansas City, Missouri 64111
                                        (816)621-9149
                                        matthew.schlobohm@gmail.com
                                        DATED: December 3, 2024




                           CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2024, a true and correct copy of the

foregoing “MOTION TO RECONSIDER UNDER LOCAL RULE 7.3, CORRECT

MISQUOTATION, CORRECT RECORD AND SEEK CLARIFICATION

REGARDING PRO SE ACCESS TO SEALED RECORDS VIA PACER” was filed

electronically with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to all parties or their counsel of record.


/s/ Matthew Schlobohm

Plaintiff




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